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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  Mahmoud KHALIL,

                     Petitioner,

  v.                                                       Case No. 2:25-cv-01963

  Donald J. TRUMP, in his official capacity as             Hon. Michael E. Farbiarz
  President of the United States; William P. JOYCE,
  in his official capacity as Acting Field Office
  Director of New York, Immigration and Customs
  Enforcement; Caleb VITELLO, Acting Director,
  U.S. Immigration and Customs Enforcement; Kristi
  NOEM, in her official capacity as Secretary of the
  United States Department of Homeland Security;
  Marco RUBIO, in his official capacity as Secretary
  of State; and Pamela BONDI, in her official capacity
  as Attorney General, U.S. Department of Justice,

                     Respondents.


  BRIEF OF FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION,
   NATIONAL COALITION AGAINST CENSORSHIP, THE RUTHERFORD
    INSTITUTE, PEN AMERICA, AND FIRST AMENDMENT LAWYERS
    ASSOCIATION AS AMICI CURIAE IN SUPPORT OF PETITIONER’S
             MOTION FOR PRELIMINARY INJUNCTION

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                           INTEREST OF AMICI CURIAE1

        The Foundation for Individual Rights and Expression (FIRE) is a nonpartisan

 nonprofit that defends the rights of all Americans to free speech and free thought—

 the essential qualities of liberty. Since 1999, FIRE has successfully defended First

 Amendment rights on college campuses nationwide through public advocacy,

 targeted litigation, and amicus curiae filings in cases that implicate expressive rights.

 In June 2022, FIRE expanded its advocacy beyond the university setting and now

 defends First Amendment rights both on campus and in society at large. In lawsuits

 across the United States, FIRE works to vindicate First Amendment rights without

 regard to the speakers’ views. See, e.g., Trump v. Selzer, No. 4:24-cv-449 (S.D. Iowa

 filed Dec. 17, 2024); Volokh v. James, No. 23-356 (2d Cir. argued Feb. 16, 2024); Novoa

 v. Diaz, No. 4:22-cv-324, (N.D. Fla., Nov. 17, 2022), appeal docketed, No. 22-

 13994 (11th Cir. argued June 14, 2024); Netchoice, LLC v. Bonta, 2025 WL 807961

 (N.D. Cal. Mar. 13, 2025)); Villarreal v. Alaniz, 145 S. Ct. 368 (2024). As such, FIRE

 is deeply concerned by the government’s claim of authority to subject resident aliens

 to adverse action for their expressed viewpoints.

        The National Coalition Against Censorship (NCAC) is an alliance of more than

 60 national non-profit literary, artistic, religious, educational, professional, labor, and

 civil liberties groups. NCAC was founded in 1974 in response to the United States




    1  No counsel for a party authored this brief in whole or in part. Further, no person,
 other than amici, their members, or their counsel contributed money intended to fund
 this brief’s preparation or submission. Amici are filing a motion for leave to file this
 brief concurrently.


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 Supreme Court’s landmark decision in Miller v. California, 413 U.S. 15 (1973), which

 narrowed First Amendment protections for sexual expression and opened the door to

 obscenity prosecutions. The organization’s purpose is to promote freedom of thought,

 inquiry, and expression, and to oppose censorship in all its forms. NCAC engages in

 direct advocacy and education to support free expression rights of students, teachers,

 librarians, artists, and others. NCAC has long opposed attempts to censor or limit

 youth free expression on college campuses and tracks efforts to suppress artistic and

 cultural expression related to political conflict in Israel and Palestine. See, e.g., Art

 Censorship Index: Israel and Palestine 2023-Onwards, NAT’L COAL. AGAINST

 CENSORSHIP, https://ncac.org/art-censorship-index-israel-palestine-2023-onwards.

 It therefore has a longstanding interest in assuring the continuance of robust First

 Amendment protections for all, including students and noncitizens. The positions

 advocated in this brief do not necessarily reflect the views of NCAC’s member

 organizations.

       The Rutherford Institute is a nonprofit civil liberties organization

 headquartered in Charlottesville, Virginia. Founded in 1982 by its president, John

 W. Whitehead, the Institute provides legal assistance at no charge to individuals

 whose constitutional rights have been threatened or violated and educates the public

 about constitutional and human rights issues affecting their freedoms. The

 Rutherford Institute works tirelessly to resist tyranny and threats to freedom by

 seeking to ensure that the government abides by the rule of law and is held




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 accountable when it infringes on the rights guaranteed by the Constitution and laws

 of the United States.

       PEN American Center, Inc. (“PEN America”) is a non-partisan, not-for-profit

 organization dedicated to creative expression and the liberties that make it possible.

 Founded in 1922, PEN America engages in advocacy, research, and public

 programming related to free expression in the United States and around the world.

 PEN America stands for the unhampered transmission of thought within each nation

 and between all nations, working to ensure that people everywhere have the freedom

 to create literature, to convey information and ideas, express their views, and access

 the views, ideas, and literature of others. PEN America has engaged in research and

 advocacy related to protest rights and the free speech rights of immigrants.

       The First Amendment Lawyers Association (FALA) is a nonpartisan, nonprofit

 bar association comprised of attorneys throughout the United States and elsewhere

 whose practices emphasize defense of Freedom of Speech and of the Press, and which

 advocates against all forms of government censorship. Formed in the mid-1960s,

 FALA’s members practice throughout the U.S. in defense of the free speech. Since its

 founding, its members have been involved in many of the nation’s landmark free

 expression cases, including cases before the Supreme Court. See, e.g., Ashcroft v. Free

 Speech Coalition, Inc., 535 U.S. 234 (2002) (successful challenge to Child

 Pornography Prevention Act argued by FALA member and former president H. Louis

 Sirkin); United States v. Playboy Ent. Group, Inc., 529 U.S. 803 (2000) (successful

 challenge to “signal bleed” portion of Telecommunications Act argued by FALA




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  member and former president Robert Corn-Revere). In addition, FALA has a

  tradition of submitting amicus briefs to the Supreme Court on issues pertaining to

  the First Amendment. See, e.g., City of Littleton v. Z.J. Gifts D-4, LLC, 2004 WL

  199239 (Jan. 26, 2004) (amicus brief submitted by FALA); United States v. 12,200-ft

  Reels of Super 8mm Film, 409 U.S. 909 (1972) (order granting FALA’s motion to

  submit amicus brief).




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         “We hold these truths to be self-evident, that all men are created equal, that
    they are endowed by their Creator with certain unalienable Rights, that among
                these are Life, Liberty, and the pursuit of Happiness.”

                INTRODUCTION AND SUMMARY OF ARGUMENT

        America’s founding principle, core to who and what we are as a Nation, is that

  liberty comes not from the benevolent hand of a king, but is an inherent right of every

  man, woman, and child. That includes “the opportunity for free political discussion”

  as “a basic tenet of our constitutional democracy.” Cox v. Louisiana, 379 U.S. 536, 552

  (1965). And “a function of free speech under our system of government is to invite

  dispute. It may indeed best serve its high purpose when it induces a condition of

  unrest, creates dissatisfaction with conditions as they are, or even stirs people to

  anger.” Terminiello v. City of Chicago, 337 U.S. 1, 4 (1949). For these reasons, along

  with all citizens, “freedom of speech and of press is accorded aliens residing in this

  country.” Bridges v. Wixon, 326 U.S. 135, 148 (1945).

        Secretary of State Marco Rubio, however, is attempting to deport a permanent

  resident, Mahmoud Khalil, not because the government claims he committed a crime

  or other deportable offense, but for the seemingly sole reason that his expression

  stirred the Trump administration to anger. The Secretary claims he can deport Mr.

  Khalil under a Cold War–era statute giving the secretary of state the power to deport

  anyone he “personally determines” is contrary to America’s “foreign policy interest.”

  8 U.S.C. §§ 1182(a)(3)(C)(iii), 1227(a)(4)(C)(i). And he argues this power extends even

  to deporting permanent residents for protected speech. It does not.

        The First Amendment’s protection for free speech trumps a federal statute.

  United States v. Robel, 389 U.S. 258, 268 n.20 (1967). Accepting Secretary Rubio’s


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  position would irreparably damage free expression in the United States, particularly

  on college campuses. Foreign students would (with good reason) fear criticizing the

  American government during classroom debates, in term papers, and on social media,

  lest they risk deportation. That result is utterly incompatible with the longstanding

  recognition that “[t]he essentiality of freedom in the community of American

  universities is almost self-evident,” and that “students must always remain free to

  inquire, to study and to evaluate, to gain new maturity and understanding.” Sweezy

  v. New Hampshire, 354 U.S. 234, 250 (1957).

        Secretary Rubio claims (as do all censors) that this time is different, that the

  supposed repulsiveness of Mr. Khalil’s pro-Palestine (and, as Secretary Rubio alleges,

  pro-Hamas) views cannot be tolerated. But “if there is a bedrock principle underlying

  the First Amendment, it is that the government may not prohibit the expression of

  an idea simply because society finds the idea itself offensive.” Texas v. Johnson, 491

  U.S. 397, 414 (1989) (holding the First Amendment protects burning the American

  flag in protest); see also Snyder v. Phelps, 562 U.S. 443, 454 (2011) (holding the First

  Amendment protects displaying “God Hates Fags” and “Thank God for Dead Soldiers”

  posters outside a military funeral).

        Allowing the Secretary of State to deport any non-citizen whose views, in his

  subjective judgment, are against America’s foreign policy interests places free

  expression in mortal peril. China’s Constitution, for example, provides that “when

  exercising their freedoms and rights, citizens … shall not undermine the interests of

  the state.” Xianfa [Constitution] art. 51 (1982) (China). As China’s experience shows,




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  allowing the government to step in as censor when it believes speech threatens the

  government’s interests is a loophole with infinite diameter. It has no place in

  America’s tradition of individual liberty.

        The only court to address the deportation provision Secretary Rubio relies upon

  to deport Mr. Khalil reached a similar conclusion, holding the law unconstitutional.

  As that court explained, “If the Constitution was adopted to protect individuals

  against anything, it was the abuses made possible through just this type of unboun-

  ded executive authority.” Massieu v. Reno, 915 F. Supp. 681, 702 (D.N.J. 1996), rev’d

  on other grounds, 91 F.3d 416 (3d Cir. 1996) (reversing for failure to exhaust

  remedies).

        The “First Amendment does not speak equivocally. It prohibits any law

  ‘abridging the freedom of speech, or of the press.’ It must be taken as a command of

  the broadest scope that explicit language, read in the context of a liberty-loving

  society, will allow.” Bridges v. California, 314 U.S. 252, 263 (1941) (invalidating

  criminal convictions, including of a non-citizen, based on protected speech). Our

  “liberty-loving society” does not permit deportation as a punishment solely based on

  expression the government disfavors. The Court should grant Mr. Khalil’s motion.

                                    BACKGROUND

        Petitioner Mahmoud Khalil attests he is a lawful permanent resident of the

  United States and a recent graduate student at Columbia University. Am. Pet. for

  Writ of Habeas Corpus & Compl. ¶ 1, ECF No. 38 (“Am. Pet.”). He lives in New York

  City with his wife, Noor, who is eight months pregnant. Id. ¶ 9. Since the October 7,




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  2023, Hamas attack in southern Israel (and Israel’s subsequent military campaign in

  Gaza), Mr. Khalil has been an active participant at Columbia in demonstrations and

  advocacy against Israel’s actions. For example, Mr. Khalil has repeatedly criticized

  Israel’s military operations in Gaza and what he believes is Columbia’s financing and

  facilitation of those activities. Id. ¶ 22. He leads several Palestine-focused student

  groups and helped organize lectures and educational events about Palestine. Id. ¶ 23.

  He has also served as a mediator between protestors and Columbia’s administration

  to ensure protestors receive fair treatment while the University safeguards

  institutional operations and student safety. Id. ¶ 24.

         Though some Gaza protests at Columbia have involved actions the First

  Amendment does not immunize, including vandalism,2 physical violence,3 and

  unlawful building occupations,4 neither the Trump administration nor Columbia




     2 Luke Tress, Protesters Vandalize University buildings on Anniversary of Hind
  Rajab       Killing,      Colum.        Spectator        (Jan.      30,      2025),
  https://www.columbiaspectator.com/news/2025/01/30/protesters-vandalize-
  university-buildings-on-anniversary-of-hind-rajab-killing/ [https://perma.cc/E9W4-
  4783].
     3 Teen Charged After Attacking Student Hanging Pro-Israel Posters at Columbia
  University, ABC 7 (Oct. 16, 2023), https://abc7ny.com/nyc-columbia-university-israel-
  war/13914229/ [https://perma.cc/96TK-T8CK].
     4 Sanya Mansoor, ‘Gaza Calls, Columbia Falls’: Campus Protesters Defy
  Suspension     Threats    and   Occupy     Hall,    TIME      (Apr.    30,    2024),
  https://time.com/6972454/columbia-protesters-defy-university-orders-to-clear-
  encampment/ [https://perma.cc/Y7BC-BQGN].


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  have alleged Mr. Khalil engaged in those or any other unlawful actions. Indeed, Mr.

  Khalil has not been charged with any crime.5

         However, on March 8, 2025, agents from the Department of Homeland Security

  (“DHS”) arrested Mr. Khalil with no prior notice at his Columbia university

  apartment and initiated proceedings to deport him from the United States. Am. Pet.

  ¶¶ 45–53, 59–60. At some point in the night, DHS transferred Mr. Khalil to New

  Jersey, then transported him again soon thereafter to Louisiana, where he arrived on

  March 10 and remains detained. Am. Pet. ¶¶ 8, 61, 63–67.

         DHS documentation indicates Mr. Khalil was being deported based on Section

  1227(a)(4)(C)(i) of the Immigration and Nationality Act (the “Foreign Policy

  Deportation Provision” or “FPDP”). Am. Pet. ¶¶ 14, 82. This provision states that “an

  alien whose presence or activities in the United States the secretary of state has

  reasonable ground to believe would have potentially serious adverse foreign policy

  consequences for the United States is deportable.” 8 U.S.C. § 1227(a)(4)(C)(i).

         The Trump administration immediately made clear it is attempting to deport

  Mr. Khalil because of his pro-Palestine advocacy. On March 9, 2025, Secretary of

  State Marco Rubio reacted to Mr. Khalil’s detention on social media, writing, “We will

  be revoking the visas and/or green cards of Hamas supporters in America so they can

  be deported.” Am. Pet. ¶ 75. The next day, President Donald Trump, commenting on

  Mr. Khalil’s detention and planned deportation, warned that additional foreign


     5When asked about the administration’s rationale for deporting Khalil, DHS
  Deputy Secretary Troy Edgar did not dispute that Khalil had not broken any laws.
  Am. Pet. ¶ 81 (citing NPR interview).


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  students involved in “pro-terrorist, anti-Semitic, anti-American activity” will be

  found and deported, vowing, “the Trump administration will not tolerate it.” Id. ¶ 73.

  President Trump vowed Mr. Khalil’s arrest was the “first” of “many to come.” Id.

          Then, on March 11, 2025, White House Press Secretary Karoline Leavitt

  confirmed to reporters that Mr. Khalil faced deportation because he “sid[ed] with

  terrorists, Hamas terrorists, who have killed innocent men, women, and children.”6

  She claimed Mr. Khalil “organized group protests that … harassed Jewish American

  students,” though she did not allege Mr. Khalil engaged in any harassment.7 Ms.

  Leavitt also asserted Mr. Khalil “distributed pro-Hamas propaganda flyers with the

  logo of Hamas” on Columbia’s campus.8 She emphasized, “This administration is not

  going to tolerate individuals … siding with pro-terrorist organizations.”9

          On March 13, 2025, Deputy Homeland Security Secretary Troy Edgar conceded

  in an interview with NPR that Mr. Khalil’s deportable “offense” was participating in

  a protest:

          Martin: Is any criticism of the government a deportable offense?

          Edgar: Let me put it this way, Michel, imagine if he came in and filled
          out the form and said, ‘I want a student visa.’ They asked him, ‘What




     6 White House Daily Briefing, C-SPAN, at 11:01 (Mar. 11, 2025), https://www.c-
  span.org/program/white-house-event/white-house-daily-briefing/657022
  [https://perma.cc/858N-F4WY]; see also Am. Pet. ¶ 79.
     7   White House Daily Briefing, supra note 6, at 11:09.
     8   Id. at 11:20.
     9   Id. at 11:46.


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            are you going to do here?’ And he says, ‘I’m going to go and protest.’ We
            would have never let him into the country.10

            Mr. Khalil filed his Petition for Writ of Habeas Corpus on March 9, 2025, ECF

  No. 2, and his Amended Petition and Complaint on March 13, ECF No. 38. On March

  17, Khalil filed his Motion for a Preliminary Injunction. ECF No. 66. On March 19,

  the Southern District of New York transferred the action to this Court. ECF No. 79.

                                         ARGUMENT

  I.        Mr. Khalil’s Advocacy Is Core Protected Political Speech.

            A.    Mr. Khalil has full First Amendment rights.

            The First Amendment provides “Congress shall make no law … abridging the

  freedom of speech, or of the press.” U.S. Const. amend. I. And the Supreme Court has

  made clear the Constitution’s “freedom of speech and of press is accorded aliens

  residing in this country.” Wixon, 326 U.S. at 148 (citing Bridges, 314 U.S. 252).

            This has stood as established law for more than 70 years. See, e.g., Am.-Arab

  Anti-Discrimination Comm. v. Reno, 70 F.3d 1045, 1065 (9th Cir. 1995); Rafeedie v.

  I.N.S., 795 F. Supp. 13, 22 (D.D.C. 1992) (“It has long been settled that aliens within

  the United States enjoy the protection of the First Amendment ….”) (footnote and

  citations omitted). “[O]nce an alien lawfully enters and resides in this country he

  becomes invested with the rights guaranteed by the Constitution to all people within

  our borders … including those protected by the First Amendment.” Wixon, 326 U.S.



        Michel Martin & Destinee Adams, DHS Official Defends Mahmoud Khalil
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  Arrest, but Offers Few Details on Why It Happened, NPR (Mar. 13, 2025),
  https://www.npr.org/2025/03/13/nx-s1-5326015/mahmoud-khalil-deportation-
  arrests-trump [https://perma.cc/2FFN-QUZT]; see also Am. Pet. ¶ 81.


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  at 161 (Murphy, J., concurring) (cleaned up). The Bill of Rights “does not

  acknowledge[] any distinction between citizens and resident aliens.” Id.

          Administration officials’ statements about Mr. Khalil and his arrest have

  confused fundamental distinctions between government powers to permit or deny an

  individual’s request to enter the United States versus the rights of an individual who

  has entered and subsequently became a permanent legal resident.11 To be sure,

  Congress has broad powers to set rules for allowing or excluding aliens from entry.

  But that is entirely different from “the constitutional constraints that operate at

  deportation.” Am.-Arab Anti-Discrimination Comm., 70 F.3d at 1065. And it is

  especially different when the government seeks to deport a lawfully present

  permanent legal resident.

          There is no merit to a government argument that, because the political

  branches have broad authority over immigration matters, the government can cast

  aside the constitutional rights of legal residents like Mr. Khalil. Because “resident

  aliens have constitutional rights it follows that Congress may not ignore them in the

  exercise of its ‘plenary’ power of deportation.” Wixon, 326 U.S. at 161 (Murphy, J.,

  concurring). Like all permanent legal residents, Mr. Khalil “is entitled to the same

  First Amendment protections as United States citizens.” Rafeedie, 795 F. Supp. at 22.

  And the importance of protecting and preserving First Amendment rights here is no




     11 See Secretary of State Marco Rubio Remarks to Press, U.S. Dep’t of State, at
  9:18, Mar. 12, 2005, http://state.gov/secretary-of-state-marco-rubio-remarks-to-press
  [https://perma.cc/LTK4-BLMW].


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  less important than for any U.S. citizen, as deportation can result in the loss “of all

  that makes life worth living.” Ng Fung Ho v. White, 259 U.S. 276, 284 (1922).12

          B.    The First Amendment protects unpopular speech.

          America’s First Amendment and commitment to freedom of speech reflect “a

  profound national commitment to the principle that debate on public issues should

  be uninhibited, robust, and wide-open.” New York Times Co. v. Sullivan, 376 U.S.

  254, 270 (1964). That is because “speech concerning public affairs is more than self-

  expression; it is the essence of self-government.” Garrison v. Louisiana, 379 U.S. 64,

  74–75 (1964). “[S]peech on public issues occupies the highest rung of the hierarchy of

  First Amendment values, and is entitled to special protection.” Snyder, 562 U.S. at

  452 (quoting Connick v. Myers, 461 U.S. 138, 145 (1983)) (quotation marks omitted).

          Mr. Khalil’s pro-Palestine advocacy and his involvement supporting

  Palestinian rights are core protected political speech. “The Supreme Court has

  declared that the First Amendment protects political demonstrations and protests—




     12 In 1952, the Supreme Court held the First Amendment did not pose a barrier
  to deporting an immigrant for being a member of the Communist Party. Harisiades
  v. Shaughnessy, 342 U.S. 580, 592 (1952). To reach its holding, and applying the First
  Amendment jurisprudence at that time, the Court noted citizens could be punished
  for the same affiliation. Id. at n.18 (citing Dennis v. United States, 341 U.S. 494
  (1951)); see also 1 Smolla & Nimmer on Freedom of Speech § 10:19 (detailing how
  subsequent Supreme Court precedent limited Dennis); Hans A. Linde, “Clear and
  Present Danger” Reexamined: Dissonance in the Brandenburg Concerto, 22 Stan. L.
  Rev. 1163, 1186 (1970) (same). In 1972, the Supreme Court held the First
  Amendment does not bar the government from considering speech when deciding
  whether to admit an immigrant because “unadmitted and nonresident alien[s] ha[ve]
  no constitutional right of entry to this country.” Kleindienst v. Mandel, 408 U.S. 753,
  762 (1972). Neither case contradicts Wixon’s holding that “freedom of speech and of
  press is accorded aliens residing in this country.” 326 U.S. at 148 (emphasis added).


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  activities at the heart of what the Bill of Rights was designed to safeguard.” Jones v.

  Parmley, 465 F.3d 46, 56 (2d Cir. 2006) (Sotomayor, J.) (citing Boos v. Barry, 485 U.S.

  312, 318 (1988)). Political protests are an exercise of “basic constitutional rights in

  their most pristine and classic form.” Edwards v. South Carolina, 372 U.S. 229, 235

  (1963).

          So too is handing out flyers, one of the specific justifications Ms. Leavitt offered

  for Mr. Khalil’s deportation.13 Distributing “leaflets in the advocacy of a politically

  controversial viewpoint is the essence of First Amendment expression,” and “no form

  of speech is entitled to greater constitutional protection.” McCullen v. Coakley, 573

  U.S. 464, 488–89 (2014) (cleaned up). None of the posters Ms. Leavitt cited contain or

  consist of unprotected speech, and the government does not assert otherwise.14

          Nor can the administration justify its deportation by alleging Mr. Khalil’s

  speech supported “terrorism.” The Antiterrorism and Effective Death Penalty Act of

  1996 criminalizes providing specified foreign terrorist organizations like Hamas,

  ISIS, and Al-Qaeda “material support or resources,” defined as:

          any property, tangible or intangible, or service, including currency or
          monetary instruments or financial securities, financial services, lodging,
          training, expert advice or assistance, safehouses, false documentation or
          identification, communications equipment, facilities, weapons, lethal
          substances, explosives, personnel (1 or more individuals who may be or


     13   White House Daily Briefing, supra note 6, at 11:20; see also Am. Pet. ¶ 79.
     14 See United States v. Alvarez, 567 U.S. 709, 717 (2012) (plurality op.) (holding
  categories of speech unprotected by the First Amendment are carefully cabined and
  limited to: incitement, obscenity, defamation, speech integral to criminal conduct,
  fighting words, child pornography, fraud, true threats, and speech presenting a
  “grave and imminent threat the government has the power to prevent, although a
  restriction under [this] last category is most difficult to sustain”) (citations omitted).


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        include oneself), and transportation, except medicine or religious
        materials[.]

  18 U.S.C. § 2339A(b)(1). In Holder v. Humanitarian Law Project, 561 U.S. 1 (2010),

  the Supreme Court held that under this definition, expressing support for a terrorist

  organization or its goals, without more, does not qualify as providing material

  support. As the Court explained:

        Congress has not … sought to suppress ideas or opinions in the form of
        “pure political speech.” Rather, Congress has prohibited “material
        support,” which most often does not take the form of speech at all. And
        when it does, the statute is carefully drawn to cover only a narrow
        category of speech to, under the direction of, or in coordination with
        foreign groups that the speaker knows to be terrorist organizations.

  Id. at 26. In short, philosophical support for a terrorist organization (let alone mere

  overlap of certain political beliefs) is fully protected by the First Amendment.

        “Speech is powerful. It can stir people to action, move them to tears of both joy

  and sorrow and—as it did here—inflict great pain.” Snyder, 562 U.S. at 460–61. Some

  nations react to such expression by “punishing the speaker.” Id. at 461. But as a

  “Nation we have chosen a different course—to protect even hurtful speech on public

  issues to ensure that we do not stifle public debate.” Id.

        C.     Deporting Mr. Khalil for pro-Palestine advocacy would be
               unconstitutional viewpoint discrimination.

        It is a core tenet of American free speech that the government may not punish

  people based on their opinions. “If there is any fixed star in our constitutional

  constellation, it is that no official, high or petty, can prescribe what shall be orthodox

  in politics, nationalism, religion, or other matters of opinion.” W. Va. State Bd. of

  Educ. v. Barnette, 319 U.S. 624, 642 (1943). That means “the government must



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  abstain from regulating speech when the specific motivating ideology or the opinion

  or perspective of the speaker is the rationale for the restriction.” Rosenberger v. Rector

  & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995). And courts have for decades

  rejected viewpoint discrimination in particular at public universities, rebuffing

  efforts to restrict ideas by limiting who may teach,15 who may be invited to speak,16

  which publications to fund,17 and what organizations to recognize or fund.18

          The government’s attempt to deport Mr. Khalil on the bases proffered to date

  amounts to confessed viewpoint discrimination. The administration said Mr. Khalil

  would be deported for “siding with terrorists, Hamas terrorists.”19 President Trump

  has also declared that his administration’s actions against students holding lawful

  visas are aimed to eliminate anyone involved in “pro-terrorist, anti-Semitic, anti-

  American activity.” Am. Pet. ¶ 73. This is the American government engaging in open

  and blatant viewpoint discrimination.




     15 Keyishian v. Bd. of Regents of Univ. of State of N.Y., 385 U.S. 589, 602–603
  (1967) (loyalty oaths for university faculty).
     16  Molpus v. Fortune, 432 F.2d 916, 917 (5th Cir. 1970) (university speaker bans);
  Brooks v. Auburn Univ., 296 F. Supp. 188, 196 (M.D. Ala. 1969) (holding the “State
  of Alabama cannot … regulate the content of the ideas students may hear” because
  that is “unconstitutional censorship in its rawest form”).
     17Rosenberger, 515 U.S. at 825–29 (denial of funding to Christian student
  newspaper).
     18 Healy v. James, 408 U.S. 169 (1971) (denial of recognition to student political
  group); Gay & Lesbian Students Ass’n v. Gohn, 850 F.2d 361, 363–67 (8th Cir. 1988)
  (refusal of funding to student gay rights group following state legislature’s
  resolution).
     19   White House Daily Briefing, supra note 6, at 11:01; accord Am. Pet. ¶ 79.


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          The administration claims Mr. Khalil’s opinions were “anti-Semitic” and made

  Jewish students “feel unsafe.”20 But viewpoint discrimination remains unlawful even

  when others find the speaker’s message deeply offensive or hurtful. Indeed, “the

  proudest boast of our free speech jurisprudence is that we protect the freedom to

  express the thought that we hate.” Matal v. Tam, 582 U.S. 218, 246 (2017) (citation

  omitted); see also Iancu v. Brunetti, 588 U.S. 388, 396 (2019) (protecting speech

  “offensive to many Americans,” including on the subject of “terrorism,” because “a law

  disfavoring ‘ideas that offend’ discriminates based on viewpoint, in violation of the

  First Amendment”) (citation omitted).

          The government has not claimed Mr. Khalil ever engaged in any terrorist

  activity. It does not allege he ever provided material support to a terrorist

  organization. The government has not purported to rely on any of the provisions of

  the Immigration and Nationality Act that concern terrorist activity. E.g., 8 U.S.C.

  §§ 1227(a)(1), (4)(B), 1182(a)(3)(B)(i)(VII). Instead, the government has targeted Mr.

  Khalil because of his advocacy for Palestinians, calls his advocacy “pro-terrorist,” and

  is trying to deport him from the country. As the Supreme Court made clear in Holder,

  independent advocacy of views or causes remains fully within the First Amendment’s

  protection. 561 U.S. at 39.

          To be sure, vandalism and blockading students from attending class are not

  protected by the Constitution. But the government’s justification for deporting Mr.




     20 Am. Pet. ¶ 73 (President Trump statement on social media); White House Daily
  Briefing, supra note 6, at 11:14 (Press Secretary Leavitt comments).


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  Khalil has not included allegations that he engaged in those unprotected acts.

  Instead, the government relies solely on Mr. Khalil’s protected expression, claiming

  it has a “zero-tolerance policy for siding with terrorists.”21 That is unacceptable under

  our Constitution and under bedrock American principles of free speech.

          D.    The administration’s attempt to deport Mr. Khalil amounts to
                unconstitutional retaliation.

          Insofar as the government seeks to deport Mr. Khalil because of his expression,

  it engages in textbook unlawful retaliation. “The law is settled that as a general

  matter the First Amendment prohibits government officials from subjecting an

  individual to retaliatory actions … for speaking out.” Hartman v. Moore, 547 U.S.

  250, 256 (2006). Unlawful retaliation occurs when, after an individual engages in

  protected conduct, the government takes “retaliatory action” against them, and there

  is a “causal link between the constitutionally protected conduct and the retaliatory

  action.” Starnes v. Butler Cnty. Ct. of Common Pleas, 971 F.3d 416, 429 (3d Cir. 2020)

  (cleaned up). Action is retaliatory when it is “sufficient to deter a person of ordinary

  firmness from exercising” their freedom of speech. Id. (citation omitted).

          The administration’s attempt to deport Mr. Khalil ticks each unconstitutional

  box. As explained above, attending protests and passing out flyers on a matter of

  public concern is quintessential protected speech. There can be no doubt deportation

  from the United States would deter a person of ordinary firmness from attending a

  protest or handing out leaflets. See, e.g., Mendia v. Garcia, 2016 WL 2654327, at *9



      White House Daily Briefing, supra note 6, at 11:57 (Press Secretary Leavitt
     21

  comments); accord Am. Pet. ¶ 73 (President Trump statement on social media).


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  (N.D. Cal. May 10, 2016) (issuing an “immigration detainer” was an “adverse action”).

  And the Trump administration has repeatedly confirmed its actions against Mr.

  Khalil are predicated on his protected speech.22 The administration’s attempted

  deportation of Mr. Khalil is quintessential retaliation and barred by the Constitution.

  II.        The Foreign Policy Deportation Provision Is Unconstitutional.23

             A.    The FPDP is unconstitutionally vague, especially if the only
                   deportable activity is protected speech.

             Especially insofar as it can apply, as here, based solely on protected speech,

  the FPDP is unconstitutionally vague in granting the secretary of state unfettered

  discretion while giving permanent residents like Mr. Khalil no notice of what conduct

  can trigger expulsion from the United States. Vagueness concerns are heightened in

  the context of speech because, fearing government punishment, speakers will self-

  censor and “steer far wider of the unlawful zone than if the boundaries of the

  forbidden areas were clearly marked.” Grayned v. City of Rockford, 408 U.S. 104, 109

  (1972) (cleaned up) (citations omitted). Consequently, a regulation affecting protected

  speech “demands a greater degree of specificity than in other contexts.” Smith v.

  Goguen, 415 U.S. 566, 573 (1974). A vague regulation may violate due process for

  either of two reasons, both of which apply here: when it “fails to provide a person of

  ordinary intelligence fair notice of what is prohibited” or when it “is so standardless




        See, e.g., White House Daily Briefing, supra note 6, at 10:24 (Press Secretary
        22

  Leavitt comments).
        23 Though Petitioner’s Motion does not raise this argument, amici wish to alert

  the Court to significant concerns regarding the constitutionality of the FPDP.


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  that it authorizes or encourages seriously discriminatory enforcement.” FCC v. Fox

  Television Stations, Inc., 567 U.S. 239, 253 (2012) (citation omitted).

          The only court to address the FPDP’s constitutionality (so far as we can find)

  held it unconstitutionally vague—even outside the context of speech. Massieu, 915 F.

  Supp. 681, rev’d on other grounds, 91 F.3d 416 (reversing for failure to exhaust

  administrative remedies).24 The Massieu court noted the FPDP vests “virtually

  boundless” authority in granting the secretary of state powers to deport simply by

  declaring it related to “foreign policy” reasons the Secretary “need neither explicate

  nor defend.” Id. at 701–02. As the FPDP affords “unrestrained power” with “utterly

  no standards” guiding it, the provision is void for vagueness. Id. at 702–03.

          The court also held the statute unconstitutionally vague because, as even the

  government did not dispute in that case, it gives “absolutely no notice to aliens as to

  what is required of them.” Id. at 699. In contrast with other “clearly defined” grounds

  for deportation—such as entering the country illegally or committing a crime—a

  person has no meaningful notice of when his mere presence in the United States will

  cause “adverse foreign policy consequences.” Id. at 699, 702. In this way, the FPDP:

          represents a breathtaking departure both from well established
          legislative precedent which commands deportation based on
          adjudications of defined impermissible conduct by the alien in the
          United States, and from well established precedent with respect to
          extradition which commands extradition based on adjudications of
          probable cause to believe that the alien has engaged in defined
          impermissible conduct elsewhere.

  Id. at 686.



     24   At that time, Section 237(a)(4)(C)(i) of the INA was Section 241(a)(4)(C)(i).


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          America’s foreign policy is an “unpublished, ever-changing, and often highly

  confidential” “amalgamation of interests and alliances” known to few outside the

  State Department and the President himself at any given time. Id. at 700–01. This

  leaves the regulated non-citizen no way of knowing how to avoid running afoul of the

  FPDP. Id. “‘Foreign policy’ cannot serve as the talisman behind which Congress may

  abdicate responsibility to pass only sufficiently clear and definite laws when those

  laws may be enforced against the individual.” Id. at 701.

          As the Massieu court explained, it may be such that “neither the legislature

  nor the judiciary possesses the institutional competence to question the Secretary of

  State’s decisions.” Id. at 701. And it may consequently be that “Congress could not

  have statutorily dictated to the Secretary the seriousness of particular foreign policy

  consequences.” Id. “The fact remains, however, that Congress cannot hide behind this

  required deference as a justification for granting the Secretary carte blanche to

  declare an alien’s deportability at will.” Id. The fact “that Congress might not have

  been able to provide more definite standards does not excuse it from its constitutional

  obligation to do so.” Id. at 701–02 (emphasis added).

          For all these reasons, the FPDP is unconstitutional because there is “no

  conceivable way” a person can know ahead of time how to “conform his or her

  activities to the requirements of the law.” Id. at 700.25 At bottom, the court held, our




     25  For these and related reasons, the court held the statute was not only uncon-
  stitutionally vague, but also an unconstitutional deprivation of the due process right
  to be heard and an unconstitutional delegation of legislative powers. Massieu, 915 F.
  Supp. at 703–11.


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  Constitution does not allow seizure and deportation of people lawfully in our country

  “in the unfettered discretion of the Secretary of State and without any meaningful

  opportunity to be heard.” Id. at 686. This Court should hold the same.

          B.    Allowing deportation for expression the government deems
                adverse to America’s “foreign policy” will chill expression at
                America’s universities and beyond.

          Attempting to deport Mr. Khalil for engaging in protected expression on a

  university campus is irreconcilable with the Supreme Court’s admonition that

  colleges and their “surrounding environs” are “peculiarly the ‘marketplace of ideas.’”

  Healy, 408 U.S. at 180–81 (quoting Keyishian, 385 U.S. at 603). We count on

  universities to act as the historic “center of our intellectual and philosophic tradition”

  of open debate and inquiry. Rosenberger, 515 U.S. at 835.

          There are more than a million international students studying at America’s

  universities.26 None of them will feel safe criticizing the American government of the

  day—in class, scholarship, or on their own time—if a current or future secretary of

  state may, whenever he chooses and at his unreviewable discretion, deem them

  adverse to American foreign policy and have them deported.

          That is not the American free speech tradition. Our schools “have a strong

  interest in ensuring that future generations understand the workings in practice of

  the well-known aphorism, ‘I disapprove of what you say, but I will defend to the death

  your right to say it.’” Mahanoy Area Sch. Dist. v. B.L. ex rel. Levy, 594 U.S. 180, 190



     26 Enrollment           Trends,         Inst.       of       Int’l              Educ.,
  https://opendoorsdata.org/data/international-students/enrollment-trends             (last
  visited Mar. 16, 2025) [https://perma.cc/5UQU-X3SQ].


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  (2021). Secretary Rubio may disapprove of what Mr. Khalil has to say, but his

  constitutional duty is to defend his right to say it, whether on or off campus.

          The point of the administration’s action against Mr. Khalil is the chill—to scare

  the Nation’s million-plus foreign students and tens of millions of lawful resident non-

  citizens from engaging in pro-Palestine advocacy. That is what candidate Trump

  promised on the campaign trail. In 2024, he vowed, “One thing I do is, any student

  that protests, I throw them out of the country. You know, there are a lot of foreign

  students. As soon as they hear that, they’re going to behave.”27 Then, after Mr.

  Khalil’s arrest, Secretary Rubio warned foreign students that if they were a

  “supporter of Hamas” and engage in “anti-Jewish student, anti-Semitic activities”

  then “we’re going to revoke [your lawful status] and kick you out.”28 The equation for

  foreign students is simple: Support the administration’s view of the war in Gaza, or

  else.

          This must not stand. “Our commitment to precious First Amendment freedoms

  is tested when unpopular” speakers and groups “seek refuge within its scope.” Int’l

  Soc’y for Krisha Consciousness, Inc. v. Barber, 650 F.2d 430, 447 (2d Cir. 1981). In

  America, some advocate ideas that are “discomforting, unsettling, and obnoxious.” Id.




     27 Josh Dawsey et al., Trump Told Donors He Will Crush Pro-

  Palestinian Protests, Deport Demonstrators, Wash. Post (May 27, 2024),
  https://www.washingtonpost.com/politics/2024/05/27/trump-israel-gaza-policy-
  donors. [https://perma.cc/2EU2-GNG9].
     28See Secretary of State Marco Rubio Remarks to Press, supra note 11; see also
  Martin & Adams, supra note 10.


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  (citations omitted). But they “are entitled to the First Amendment freedoms we all

  enjoy, and considerations of comfort or convenience cannot prevail.” Id.

        C.     Allowing the Secretary of State to deport speakers deemed
               contrary to the national interest is an un-American approach
               to speech

        Allowing the Secretary of State to retaliate against speakers if he deems it in

  the national interest would place the United States among strange bedfellows when

  it comes to freedom of speech. For example, Article 51 of China’s Constitution

  provides that individual liberty gives way if the government decides the expression

  “undermine[s] the interests of the state.” Xianfa [Constitution] art. 51 (1982)

  (China).29 Russia’s laws, too, permit the “[r]estriction of access to information” in the

  name of protecting “morality,” its system of government, and the “security of the

  state.” Federal’nyĭ Zakon RF ob Informat͡sii, Informat͡sionnykh Tekhnologii͡akh i o

  Zashchite Informat͡sii [Federal Law of the Russian Federation on Information,

  Informational    Technologies    and    the    Protection   of   Information],   Sobranie

  Zakonodatel’stva Rossiĭskoĭ Federatsii [SZ RF] [Russian Federation Collection of

  Legislation] 2006, No. 31, Item 3448.30 And Saudi Arabia prohibits expression that

  serves any “foreign interest” conflicting with the “national interest” or that “stir[s] up




     29 Available at:

  https://english.www.gov.cn/archive/lawsregulations/201911/20/content_WS5ed8856e
  c6d0b3f0e9499913.html.
     30 Available at:

  https://www.wto.org/english/thewto_e/acc_e/rus_e/wtaccrus58_leg_369.pdf.


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  discord among citizens.” Law of Printing and Publication, 2006 (Royal Decree No.

  M/23, 3/9/1424 H), art. 9 (Saudi Arabia).31

          America, however, has charted a different course than the world’s censorial

  kings and regimes. In 1801, President Thomas Jefferson used his first inaugural

  address to defend the free speech rights of those who called for dissolution of the

  Union. He proclaimed, “If there be any among us who would wish to dissolve this

  Union or to change its republican form, let them stand undisturbed as monuments of

  safety with which error of opinion may be tolerated and where reason is left free to

  combat it.”32 Little could be more dangerous to the interests of a fledgling nation than

  calling for its extinction, yet our commitment to free speech remained. So it should

  today, 224 years later.

                                     CONCLUSION

          “Make no mistake about it. This case is about the Constitution of the United

  States and the panoply of protections that document provides to the citizens of this

  country and those non-citizens who are here legally and, thus, here as our guests.”

  Massieu, 915 F. Supp. at 686. Secretary Rubio’s attempt to deport Mr. Khalil violates

  the First Amendment and betrays more than two centuries of American commitment

  to free and open expression. The Court should grant Mr. Khalil’s requested relief.




     31   Available at: https://www.saudiembassy.net/law-printing-and-publication.
     32 Thomas Jefferson, First Inaugural Address Mar. 4, 1801, Avalon Project
  https://avalon.law.yale.edu/19th_century/jefinau1.asp (last visited Mar. 18, 2025)
  [https://perma.cc/PJ5G-F2GF].


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  Dated: March 20, 2025                Respectfully Submitted,

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